OPINION — AG — THE PAYMENT OF SAID " ORIGINAL SALARIES " TO THE OFFICERS REFERRED TO IN ART. II, SECT. 3 OF THE ORIGINAL CHARTER OF THE CITY OF HARTSHORNE IS NOT NOW AUTHORIZED BY SAID SECTION BUT THAT SAME SHOULD BE PAID SALARIES AS PROVIDED IN THE AUGUST 1, 1935 AMENDMENT OF SAID SECTION, THAT IS, UNLESS AND UNTIL SAID SALARIES ARE CHARGED (EITHER INCREASED OR DECREASED) BY CHARTER AMENDMENT. CITE: 11 O.S.H. 561, ARTICLE XVIII, SECTION 3(A), ARTICLE XXIII, SECTION 10 (FRED HANSEN)